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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

SBI CRYPTO CO., LTD.,                        §
                                             §
              Plaintiff,                     §
                                             §
v.                                           § CASE NO. 6:23-CV-00252-ADA-JCM
                                             §
WHINSTONE US, INC.,                          §
                                             §
              Defendant.                     §

                       REPORT AND RECOMMENDATION OF
                     THE UNITED STATES MAGISTRATE JUDGE

TO:    THE HONORABLE ALAN D ALBRIGHT,
       UNITED STATES DISTRICT JUDGE

       This Report and Recommendation is submitted to the Court pursuant to 28 U.S.C.

§ 636(b)(1)(C), Fed. R. Civ. P. 72(b), and Rules 1(f) and 4(b) of Appendix C of the Local Rules

of the United States District Court for the Western District of Texas, Local Rules for the

Assignment of Duties to United States Magistrate Judges. Before the Court is Defendant’s

Motion to Dismiss Plaintiff’s Original Complaint (ECF No. 9) and the responses, replies, and

supplemental briefing thereto. For the reasons described below, the Court RECOMMENDS that

Defendant’s Motion be DENIED.

                                     I.   BACKGROUND

       Plaintiff sued Defendant for breach of contract, fraud/fraudulent inducement, fraud by

nondisclosure, and negligent bailment. Pl.’s Orig. Compl. (ECF No. 1) at 14–19. Defendant

moved to dismiss for failure to comply with Rule 9(b)’s pleading requirements and failure to

state a claim under Rule 12(b)(6). ECF No. 9. Plaintiff responded by filing an Amended
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Complaint. Pl.’s Am. Compl. (ECF No. 11). Defendant then filed a Motion to Dismiss Plaintiff’s

Amended Complaint. ECF No. 12.

                                      II.   DISCUSSION

       Plaintiff’s amended complaint renders the original complaint of no legal effect because

the amended complaint does not refer to, adopt, or incorporate by reference the original

complaint. King v. Dogan, 31 F.3d 344, 346 (5th Cir. 1994). Generally, an amended complaint

renders pending motions moot. See Cedillo v. Standard Oil Co. of Tex., 261 F.2d 443 (5th Cir.

1958) (holding that the district court erred in granting an abandoned motion to dismiss). Here,

Defendant filed a second motion to dismiss in response to Plaintiff’s amended complaint.

Accordingly, the Court RECOMMENDS that the Motion to Dismiss be DENIED AS MOOT.

                                    III.    CONCLUSION

       For the reasons outlined above, the undersigned RECOMMENDS that the Defendant’s

Motion (ECF No. 9) be DENIED.

                                    IV.     OBJECTIONS

       The parties may wish to file objections to this Report and Recommendation. Parties filing

objections must specifically identify those findings or recommendations to which they object.

The District Court need not consider frivolous, conclusive, or general objections. See Battle v.

U.S. Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987).

       A party’s failure to file written objections to the proposed findings and recommendations

contained in this Report within fourteen (14) days after the party is served with a copy of the

Report shall bar that party from de novo review by the District Court of the proposed findings

and recommendations in the Report. See 28 U.S.C. § 636(b)(1)(C); Thomas v Arn, 474 U.S. 140,

150–53 (1985); Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415 (5th Cir. 1996) (en banc).
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Except upon grounds of plain error, failing to object shall further bar the party from appellate

review of unobjected-to proposed factual findings and legal conclusions accepted by the District

Court. See 28 U.S.C. § 636(b)(1)(C); Thomas, 474 U.S. at 150–53; Douglass, 79 F.3d at 1415.

SIGNED this 22nd day of August 2023.




                                    JEFFREY C. MANSKE
                                    UNITED STATES MAGISTRATE JUDGE
